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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                       LUFKIN DIVISION


ADRIAN DALE HAMILTON                             §

VS.                                              §           CIVIL ACTION NO. 9:20-CV-200

UNIVERSITY OF TEXAS MEDICAL                      §
BRANCH, et al.,

                    MEMORANDUM OPINION REGARDING VENUE

       Plaintiff, Adrian Dale Hamilton, proceeding pro se, filed this civil rights action pursuant to

42 U.S.C. § 1983 against defendants the University of Texas Medical Branch, Warden John

McDaniel and Executive Director Brian Collier.

       The above-styled action was referred to the undersigned Magistrate Judge pursuant to 28

U.S.C. § 636 and the Local Rules for the Assignment of Duties to the United States Magistrate

Judge for findings of fact, conclusions of law, and recommendations for the disposition of the case.

                                            Discussion

       Venue in a civil rights action is determined pursuant to 28 U.S.C. § 1391(b). When, as in

this case, jurisdiction is not founded solely on diversity of citizenship, 28 U.S.C. § 1391 provides

that venue is proper only in the judicial district where all the defendants reside or in which a

substantial part of the events or omissions giving rise to the claim occurred.

       Plaintiff’s complaint pertains to his transportation to and from the Hodge Unit and the

University of Texas Medical Branch. Plaintiff is housed in the Hodge Unit which is located in Rusk,

Texas. Defendant McDaniel is the Warden of the Hodge Unit. Rusk, Texas is in Cherokee County

which is located in the Tyler Division of the Eastern District of Texas. It is clear that all of the
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    events or omissions giving rise to his claims occurred in the Eastern District of Texas, Tyler

    Division. Venue, therefore, is not proper in the Eastern District of Texas, Lufkin Division.

           When venue is not proper, the court “shall dismiss, or if it be in the interest of justice,

    transfer such case to any district or division in which it could have been brought.” 28 U.S.C.

    1406(a).   Plaintiff’s claims should be transferred to the Eastern District of Texas, Tyler

    Division. An appropriate order so providing will be entered by the undersigned.
          SIGNED this the 2nd day of October, 2020.




                                            ____________________________________
                                            KEITH F. GIBLIN
                                            UNITED STATES MAGISTRATE JUDGE
